       Case 1:22-mc-00096-RC Document 32-1 Filed 08/17/23 Page 1 of 13




             DISTRICT OF COLUMBIA COURT OF APPEALS
             BOARD ON PROFESSIONAL RESPONSIBILITY
                                                                               Jul 19 2022 12:42pm


_______________________________
In the Matter of                    :
                                    :
JEFFREY B. CLARK, ESQUIRE :                  Disciplinary Docket No. 2021-D193
                                    :
      Respondent                    :
                                    :
A Member of the Bar of the District :
  of Columbia Court of Appeals      :
Bar Number: 455315                  :
Date of Admission: July 7, 1997     :
_______________________________:

                       SPECIFICATION OF CHARGES

      The disciplinary proceedings instituted by this petition are based upon

conduct that violates the standards governing the practice of law in the District of

Columbia as prescribed by D.C. Bar Rule X and Rule XI, § 2(b).

      Jurisdiction for this disciplinary proceeding is prescribed by D.C. Bar R. XI.

Pursuant to D.C. Bar R. XI, § 1(a), jurisdiction is found because:

      1.     Respondent Jeffrey B. Clark is a member of the Bar of the District of

Columbia Court of Appeals, having been admitted on July 7, 1997, and assigned Bar

Number 455315.

      The conduct and standards that Respondent has violated are as follows:

      2.     Following the November 3, 2020, presidential election, the United

States Department of Justice conducted a number of criminal investigations into
       Case 1:22-mc-00096-RC Document 32-1 Filed 08/17/23 Page 2 of 13




allegations of election fraud and irregularities.

      3.     These investigations were conducted primarily at the local level by the

Federal Bureau of Investigation and the relevant United States Attorney’s Offices.

The Public Integrity Section of the Criminal Division in the Department was also

involved.

      4.     Richard Donoghue, the Principal Associate Deputy Attorney General

in the Office of Deputy Attorney General, monitored these investigations. As a

result, he was the official in the Department of Justice who was most knowledgeable

about these investigations. Mr. Donoghue kept the Deputy Attorney General, Jeffrey

Rosen, and the Attorney General, William Barr, regularly informed as to the

progress of the investigations.

      5.     By December 1, 2020, it was apparent to Mr. Donoghue that there was

no evidence of election fraud or irregularities that could have potentially affected the

outcome of the 2020 presidential election.

      6.     On December 1, 2020, and again on December 21, 2020, Mr. Barr

publicly announced that there was no evidence of election fraud or irregularities that

would have altered the result of the 2020 presidential election.

      7.     On December 23, 2020, Mr. Barr resigned as Attorney General. Mr.

Rosen became the Acting Attorney General. Mr. Donoghue assumed the duties of

the Deputy Attorney General.



                                           2
       Case 1:22-mc-00096-RC Document 32-1 Filed 08/17/23 Page 3 of 13




      8.     Respondent had been appointed the Assistant Attorney General for the

Environment and Natural Resources Division of the Department of Justice. At all

relevant times, because of a vacancy, he also served as the Acting Assistant Attorney

General for the Civil Division.

      9.     As Acting Assistant Attorney General for the Civil Division,

Respondent had no involvement in or responsibility for the Department’s post-

election investigations into allegations of fraud or irregularities.

      10.    On December 27, 2020, President Donald Trump telephoned Mr. Rosen

to discuss various matters concerning the presidential election. Mr. Rosen added

Mr. Donoghue to the conversation because he was the most knowledgeable person

about the Department’s post-election investigations.

      11.    During that call, the President expressed his unhappiness with the lack

of results in the post-election investigations. In that context, he raised Respondent’s

name as someone in the Department of Justice about whom he had heard good

things. In a later telephone conversation that same day with Mr. Donoghue, a

Pennsylvania congressman, also raised Mr. Clark’s name in the same context.

      12.    On the morning of December 28, 2020, Respondent asked Kenneth A.

Klukowski, a senior counsel in the Civil Division, to research the authority of state

legislatures to send unauthorized slate of electors to Congress. Respondent used this

research to write a draft letter, referred to as the “Proof of Concept” letter.



                                           3
       Case 1:22-mc-00096-RC Document 32-1 Filed 08/17/23 Page 4 of 13




      13.    On the afternoon of December 28, 2020, Respondent emailed the Proof

of Concept letter to Mr. Rosen and Mr. Donoghue. In the cover email accompanying

the letter, Respondent asked for a briefing from the Director of National Intelligence

concerning foreign election interference in the 2020 presidential election.

      14.    The Proof of Concept letter was addressed to the Georgia Governor,

Speaker of the House, and President Pro Tempore of the Senate. It recommended

that the Governor call the Georgia legislature into special session and argued that if

the Governor refused to do so, the legislature had the authority to convene such a

session on its own initiative. It was drafted to be signed by Mr. Rosen, Mr.

Donoghue, and Respondent.

      15.    The Proof of Concept letter stated that the Department of Justice had

“identified significant concerns that may have impacted the outcome of the election

in multiple States, including the State of Georgia.” This statement was false. The

Department was aware of no allegations of election fraud in Georgia that would have

affected the results of the presidential election.

      16.    The Proof of Concept letter stated that the Department of Justice found

“troubling the current posture of a pending lawsuit in Fulton County” and the

“litigation’s sluggish pace.”. This statement was false. The Department had no

involvement in the Fulton County case and was not concerned by its lack of progress.




                                            4
       Case 1:22-mc-00096-RC Document 32-1 Filed 08/17/23 Page 5 of 13




      17.    The Proof of Concept letter stated that the Department of Justice

believed “that in Georgia . . . both a slate of electors supporting Joseph R. Biden,

Jr., and a separate slate of electors supporting Donald J. Trump, gathered on that day

at the proper location to cast their ballots, and that both sets of those ballots have

been transmitted to Washington, D.C., to be opened by Vice President Pence.” This

statement was misleading. The Governor of Georgia had certified a slate of electors

to the Electoral College pledged to Joseph Biden, and there was no legitimate

alternative slate of Georgia electors pledged to Donald Trump.

      18.    The Proof of Concept letter stated that the Department of Justice had

concluded that the Governor should convene a special session of the Georgia

legislature. This statement was false. The Department had not made such a

determination.

      19.    The Proof of Concept letter stated that the Department had concluded

that if the Governor refused to convene a special session of the Georgia legislature,

the legislature had the authority to do so on its own initiative. This statement was

false. The Department had made no such determination.

      20.    In a little more than an hour after receiving the Proof of Concept letter

on December 28, 2020, Mr. Donoghue sent an email, copying Mr. Rosen, informing

Respondent that he would not sign the Proof of Concept letter because “‘I know of

nothing that would support the statement, ‘we have identified significant concerns



                                          5
       Case 1:22-mc-00096-RC Document 32-1 Filed 08/17/23 Page 6 of 13




that may have impacted the outcome of the election in multiple states.” Further, “I

do not think the Department’s role should include making recommendations to a

State legislature about how they should meet their Constitutional obligations to

appoint Electors.”

      21.    At around 6:00 PM on December 28, 2020, Respondent met with Mr.

Rosen and Mr. Donoghue. They informed Respondent that they would not authorize

or sign the letter because it contained false statements. Mr. Donoghue explained that

none of the investigations into election fraud or irregularities in Georgia had

produced reliable evidence of fraud or other irregularities that could have affected

the outcome of the presidential election.

      22.    Either at the meeting on December 28, 2020, or in a phone conversation

within a day or two of the meeting, Mr. Rosen authorized Respondent to receive a

briefing from the Director of National Intelligence. Mr. Rosen and Mr. Donoghue

also urged Respondent to contact the United States Attorney for the Northern District

of Georgia, who had conducted the investigations into election fraud in that

jurisdiction. Mr. Rosen subsequently followed up and provided Respondent the

contact information for the United States Attorney, including his cell phone number.

      23.    On January 2, 2021, Respondent met with Mr. Rosen and Mr.

Donoghue a second time. In this conversation, he informed them that the President

had offered him the position of Acting Attorney General, and that he was thinking



                                            6
       Case 1:22-mc-00096-RC Document 32-1 Filed 08/17/23 Page 7 of 13




about accepting it if Mr. Rosen and Mr. Donoghue were unwilling to send the Proof

of Concept letter.

      24.    In the January 2, 2021, meeting, Mr. Rosen or Mr. Donoghue asked

Respondent if he had met with the Director of National Intelligence or the United

States Attorney for the Northern District of Georgia. Respondent said that he had

met with the Director of National Intelligence and had learned that his office had

found no evidence of foreign election interference. Respondent said that he had not

telephoned the United States Attorney for the Northern District of Georgia but that

he had spoken to someone in Georgia who allegedly had information about election

irregularities. At least one of these allegations related to a matter that the United

States Attorney had already investigated and had found to be without merit.

      25.    Mr. Rosen and Mr. Donoghue again refused to send the Proof of

Concept letter.

      26.    On January 3, 2021, Respondent met with Mr. Rosen again.

Respondent requested that Mr. Donoghue not be present. Respondent stated that he

intended to accept the President’s offer to become Acting Attorney General and that

he would send the Proof of Concept letter once he assumed the position. He invited

Mr. Rosen to serve as his deputy. Mr. Rosen declined.

      27.    Mr. Rosen informed Mr. Donoghue of Respondent’s plans to accept the

position and send the Proof of Concept letter. Mr. Donoghue arranged for a phone



                                         7
       Case 1:22-mc-00096-RC Document 32-1 Filed 08/17/23 Page 8 of 13




call with some of the Assistant Attorneys General. Those on the call agreed that

they would resign if Respondent carried out his plan.

      28.    Mr. Rosen telephoned the White House Counsel and arranged for a

meeting with the President. The meeting occurred at approximately 6:00 PM on

January 3, 2021, in the Oval Office. Present were the President, Mr. Rosen,

Respondent, the White House Counsel, two other lawyers, and Mr. Donoghue who

joined shortly after the meeting began.

      29.    Except for Respondent, all the lawyers argued against appointing

Respondent as Acting Attorney General. All but Respondent opposed sending the

Proof of Concept letter because it contained false statements. Respondent stated that

he would send the Proof of Concept letter if the President appointed him Acting

Attorney General.

      30.    Mr. Donoghue informed the President that if Respondent were

appointed, then he should expect that all the Assistant Attorneys General would

resign. He stated that he had not had time to consult with the United States

Attorneys, but he believed it was likely that a number of them would also resign

along with career Department employees. The White House Counsel also threatened

to resign. The President decided not to appoint Respondent Acting Attorney

General, and the Proof of Concept letter was never sent.




                                          8
       Case 1:22-mc-00096-RC Document 32-1 Filed 08/17/23 Page 9 of 13




      31.    Respondent’s conduct in Count I violated the following District of

Columbia Rules of Professional Conduct:

             a.    Rules 8.4(a) and (c), in that Respondent attempted to engage in

conduct involving dishonesty, by sending the Proof of Concept letter containing

false statements; and

             b.    Rules 8.4(a) and (d), in that Respondent attempted to engage in

conduct that would seriously interfere with the administration of justice.

                                         Respectfully submitted,


                                          Hamilton P. Fox, III
                                         _____________________________
                                         Hamilton P. Fox, III
                                         Disciplinary Counsel


                                         /s/ Jason R. Horrell
                                         _____________________________
                                         Jason R. Horrell
                                         Assistant Disciplinary Counsel

                                         OFFICE OF DISCIPLINARY COUNSEL
                                         515 Fifth Street, N.W.
                                         Building A, Room 117
                                         Washington, D.C. 20001
                                         (202) 638-1501




                                          9
      Case 1:22-mc-00096-RC Document 32-1 Filed 08/17/23 Page 10 of 13




                                 VERIFICATION


            I do affirm that I verily believe the facts stated in the Specification of
Charges to be true.


                                       _Hamilton P. Fox, III_____________
                                       Hamilton P. Fox, III
                                       Disciplinary Counsel


              Subscribed and affirmed in the District of Columbia this 29th day of
June, 2022.




                                         10
      Case 1:22-mc-00096-RC Document 32-1 Filed 08/17/23 Page 11 of 13




             DISTRICT OF COLUMBIA COURT OF APPEALS
             BOARD ON PROFESSIONAL RESPONSIBILITY
                                                                             Jul 19 2022 12:42pm

_______________________________
In the Matter of                    :
                                    :
JEFFREY B. CLARK, ESQUIRE :                  Disciplinary Docket No. 2021-D193
                                    :
      Respondent                    :
                                    :
A Member of the Bar of the District :
  of Columbia Court of Appeals      :
Bar Number: 455315                  :
Date of Admission: July 7, 1997     :
_______________________________:


  PETITION INSTITUTING FORMAL DISCIPLINARY PROCEEDINGS


      A.     This Petition (including the attached Specification of Charges which is

made part of this Petition) notifies Respondent that disciplinary proceedings are

hereby instituted pursuant to Rule XI, § 8(c), of the District of Columbia Court of

Appeals’ Rules Governing the Bar (D.C. Bar R.).

      B.     Respondent is an attorney admitted to practice before the District of

Columbia Court of Appeals on the date stated in the caption of the Specification of

Charges.

      C.     A lawyer member of a Hearing Committee assigned by the Board on

Professional Responsibility (Board) pursuant to D.C. Bar R. XI, § 4(e)(5), has

approved the institution of these disciplinary proceedings.
       Case 1:22-mc-00096-RC Document 32-1 Filed 08/17/23 Page 12 of 13




       D.    Procedures

             (1)   Referral to Hearing Committee -- When the Board receives the

Petition Instituting Formal Disciplinary Proceedings, the Board shall refer it to a

Hearing Committee.

             (2)   Filing Answer -- Respondent must respond to the Specification

of Charges by filing an answer with the Board and by serving a copy on the Office

of Disciplinary Counsel within 20 days of the date of service of this Petition, unless

the time is extended by the Chair of the Hearing Committee. Permission to file an

answer after the 20-day period may be granted by the Chair of the Hearing

Committee if the failure to file an answer was attributable to mistake, inadvertence,

surprise, or excusable neglect. If a limiting date occurs on a Saturday, Sunday, or

official holiday in the District of Columbia, the time for submission will be extended

to the next business day. Any motion to extend the time to file an answer, and/or

any other motion filed with the Board or Hearing Committee Chair, must be served

on the Office of Disciplinary Counsel at the address shown on the last page of this

petition.

             (3)   Content of Answer -- The answer may be a denial, a statement

in exculpation, or a statement in mitigation of the alleged misconduct. Any charges

not answered by Respondent may be deemed established as provided in Board Rule

7.7.



                                          2
      Case 1:22-mc-00096-RC Document 32-1 Filed 08/17/23 Page 13 of 13




             (4)   Mitigation -- Respondent has the right to present evidence in

mitigation to the Hearing Committee regardless of whether the substantive

allegations of the Specification of Charges are admitted or denied.

             (5)   Process -- Respondent is entitled to fifteen days’ notice of the

time and place of hearing, to be represented by counsel, to cross-examine witnesses,

and to present evidence.

      E.     In addition to the procedures contained in D.C. Bar R. XI, the Board

has promulgated Board Rules relating to procedures and the admission of evidence

which are applicable to these procedures. A copy of these rules is being provided to

Respondent with a copy of this Petition.

      WHEREFORE, the Office of Disciplinary Counsel requests that the Board

consider whether the conduct of Respondent violated the District of Columbia Rules

of Professional Conduct, and, if so, that it impose/recommend appropriate discipline.

                                       OFFICE OF DISCIPLINARY COUNSEL



                                BY: __Hamilton P. Fox, III______________
                                    Hamilton P. Fox, III
                                    Disciplinary Counsel

                                       OFFICEO F DISCIPLINARY COUNSEL
                                       515 Fifth Street, N.W.
                                       Building A, Room 117
                                       Washington, D.C. 20001
                                       TELEPHONE: (202) 638-1501
                                       FAX: (202) 638-0862

                                           3
